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                       UNITED STATES DISTRICT COURT
                           DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

                   Plaintiff,

            vs.                                          Case No. 21-cr-28 (APM)

JAMES D. BEEKS,

                   Defendant.


     UNOPPOSED MOTION TO MODIFY CONDITIONS OF RELEASE

      James Beeks, by counsel, moves the Court to modify his conditions of

release. On March 31, 2022, the Court granted Beeks’ unopposed motion to

temporarily reside in the Western District of North Carolina. R. 644. At Beeks’s

request, that Order also provided that all other conditions of release were to

remain in place. Id. One of those conditions was GPS monitoring. On April 11,

2022, pretrial services filed a violation report with the Court explaining that the

GPS device doesn’t function in the remote area of North Carolina where Mr. Beeks

is temporarily residing. For the past week, Mr. Beeks has been checking in with

Pretrial Services nightly by FaceTime.

      Mr. Beeks is currently working on a more stable and permanent living

arrangement. The defense anticipates having that arrangement in place in
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approximately one month. But for the time being, Beeks doesn’t have any other

living options. That predicament conflicts with the Court’s GPS-monitoring

condition. For that reason, Mr. Beeks asks that while he is temporarily residing in

the Western District of North Carolina, the GPS-monitoring condition be removed

from his conditions of release. In lieu of GPS monitoring, Mr. Beeks will check in

daily with Pretrial Services in a manner mutually agreed upon, including

FaceTime or Google Duo.        The defense has conferred with counsel for the

government, Assistant United States Attorney Katheryn Rakoczy, who indicated

that the government does not oppose this motion, given the temporary

circumstances. Pretrial services defers to the Court.

       For the reasons herein, Beeks respectfully asks that the Court enter an order

granting the same.

      Dated at Milwaukee, Wisconsin, this 14th day of April, 2022.

                                Respectfully submitted,

                                /s/ Joshua D. Uller
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                                /s/ Jessica Arden Ettinger
                                Jessica Arden Ettinger (D.D.C. Bar No. D00483)
                                FEDERAL DEFENDER SERVICES
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                                      Counsel for Defendant, James Beeks




                                CERTIFICATE OF SERVICE

       On this 14th day of April, 2022, I filed the foregoing document electronically with the

Clerk of the Court for the United States District Court for the District of Columbia by using the

Court’s CM/ECF system, which will provide electronic service on all counsel of record.


                                             /s/ Joshua D. Uller
                                             Joshua D. Uller
